Case 2:O4-cv-O2380-.]DB-dkv Document 12 Filed 04/26/05 Page 1 of 2 Page|D 22

 

IN THE UNITEI) sTATES DISTRICT COURT " y 6
FOR THE wEsTERN DISTRICT 0F TENNESSEE r_
WESTERN DIVISION ~ 1" "" 2a j ,; q j
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L_ \ " ~
DELORIS YATES, § ‘f-D Or~‘ m ;'/'§L,v,,:;;;§
Plaimiff, )
)
vs. ) clvlL ACTION NO.
) 04-2380-Bv
)
CORRECTIONAL MEI)ICAL )
SERVICES, INC. )
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO AMEND
SCHEDULING ORDER AND TRIAL DATE

 

Before the Court is Defendant’s Unopposed l\/lotion to Amend Scheduling Order
and Trial Date. For good cause shown, it is hereby ORDERED, ADJUDGED AND
DECREED that the Scheduling Order in this case is amended and that the parties shall
have up to and including July 25, 2005, to Complete Discovery; Disclosure of Plaintifl`s
Rule 26 Expert Information up to and including May 23, 2005; Disclosure of Defendant’s
Rule 26 Expert Inforrnation up to and including June 21, 2005; Expert Witness
Depositions up to and including July 25, 2005; and Filing Dispositive Motions up to and

including September 6, 2005.

Be it so Ordered this 2_¢:» day 0 2

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LCIjED sTATEs DISTRTQT JUDGE /

This document entered on the docket sheet ln compliance v
with eula se and/or 79(3} FacP en ‘f 11 7’0 5 /

 

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This notice confirms a copy of the document docketed as number 12 in
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Honorable .1. Breen
US DISTRICT COURT

